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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                   DETROIT DIVISION

 In Re:                                            Case No. 19-57793-mar

 Gregory A. Schaal
                                                   Chapter 13
 Rebecca L. Schaal

 Debtors.                                          Judge Mark A. Randon

                                      PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Mortgage Payment
Change has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on September 7, 2021 to the following:

          Gregory A. Schaal, Debtor
          23850 Schroeder Avenue
          Eastpointe, MI 48021

          Rebecca L. Schaal, Debtor
          23850 Schroeder Avenue
          Eastpointe, MI 48021

          Erin Ashley-Bartos Kramer, Debtors’ Counsel
          sweeneylaw2005@gmail.com

          Jesse R. Sweeney, Debtors’ Counsel
          sweeneylaw2005@gmail.com

          Krispen S. Carroll, Chapter 13 Trustee
          notice@det13ksc.com




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   United States Trustee’s Office
   (registeredaddress)@usdoj.gov

                                           Respectfully Submitted,

                                           /s/ Molly Slutsky Simons
                                           Molly Slutsky Simons (OH 0083702)
                                           Sottile & Barile, Attorneys at Law
                                           394 Wards Corner Road, Suite 180
                                           Loveland, OH 45140
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                                           Attorney for Creditor




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